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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                        (at London)

 UNITED STATES OF AMERICA,                            )
                                                      )
            Plaintiff,                                )     Criminal Action No. 6: 09-16-S-DCR
                                                      )
 V.                                                   )
                                                      )
 RUSSELL CLETUS MARICLE,                              )         MEMORANDUM OPINION
                                                      )             AND ORDER
            Defendant.                                )

                                           ***      ***     ***

        This matter is pending for consideration of Defendant Russell Cletus Maricle’s motion

to suppress evidence seized from his home on March 19, 2009. Additionally, Defendant

Maricle has requested an evidentiary hearing on this issue. [Record No. 387] The motion

was referred to United States Magistrate Judge Edward B. Atkins for issuance of a Report

and Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B).1 On September 25, 2009,

Magistrate Judge Atkins issued his report, recommending that the Defendant’s motion to

suppress and his request for an evidentiary hearing be denied. [Record No. 492] Thereafter,

Defendant Maricle filed objections to the Report and Recommendation. [Record No. 508]


        1
                  In reviewing a Magistrate Judge’s recommendation of a motion to suppress under 28 U.S.C.
§ 636(b)(1)(B), the Court conducts de novo review of the matters subject to objection. This review does not
require the district judge to conduct a new hearing on contested issues. However, if the district court finds
there may be a problem as to the credibility of a witness or witnesses or for other good reasons, it may, in the
exercise of discretion, call and hear the testimony of a witness or witnesses in an adversary proceeding. See
United States v. Raddatz, 447 U.S. 667, 675-77 (1980). The Court does not find that this case presents a
circumstance in which a hearing would be necessary or appropriate.

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The United States has also filed a response to the Defendant’s objections which incorporates

earlier arguments made and materials filed. [Record Nos. 515 and 446]

       Having reviewed the materials filed in support of and in opposition to the Defendant’s

motion, and having considered the Report and Recommendation of Magistrate Judge Atkins,

the Court concludes that the motion to suppress should be denied. Further, the Defendant

has failed to meet his burden with respect to his request for an evidentiary hearing on this

issue. Accordingly, that request will also be denied.

       I.     Relevant Facts

       Although Defendant Maricle takes issue with several conclusions, the Magistrate

Judge’s Report and Recommendation correctly outlines the chronology of events occurring

on the morning of March 16, 2009. On that date, at approximately 8:45 a.m., the United

States had obtained a search warrant for what was believed to be the Maricle home. The

agents were also armed with a warrant for Defendant Maricle’s arrest. However, the original

warrant incorrectly listed as the place to be searched a neighbor’s address across the street

from the Maricle residence. Upon learning of the error, the agents proceeded to the correct

residence where they encountered Maricle’s wife, Judy Maricle.

       The Magistrate Judge’s report indicates that Mrs. Maricle initially consented to a

search of the residence. However, before the search could begin, Defendant Maricle arrived

home and revoked consent. Thereafter, Defendant Maricle was arrested and the officers

performed a protective sweep of the premises for their safety. At approximately 11:30 a.m.,

agents obtained an amended search warrant with a correct photo and description of the home

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to be searched. The Magistrate Judge further states that, “[t]here is no evidence that the

search continued upon Maricle’s revocation of consent, and prior to presentation of an

amended warrant. In addition, the Defendant does not argue for suppression of any evidence

discovered upon entry into the residence and before the officers obtained the amended search

warrant properly describing the premises.”

         In his motion to suppress, Defendant Maricle argues that his constitutional rights were

violated because: (i) the warrant did not describe the place to be searched with particularity;

(ii) the agents failed to knock and announce their presence before entry; (iii) the affidavit

supporting issuance of the warrant failed to establish the reliability of the confidential

informant or otherwise independently corroborate the information they provided; (iv) the

affidavit failed to establish a proper nexus between the Defendant’s residence and the alleged

criminal activity; and (v) the affidavit relies upon stale information to establish probable

cause.     Following a thorough review and analysis of the information presented, the

Magistrate Judge rejected each of this arguments.

         II.    Analysis

                A.     Particularity of the Affidavit and Warrant

         The Defendant asserts in his objections that the agents forcibly entered the Maricle

residence at approximately 9:00 a.m. on the morning of March 16, 2009, without a valid

warrant. He further disputes whether his wife gave consent to search the home before

Maricle arrived home and revoked any consent allegedly given. According to the Defendant,



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“it is the voluntariness of this consent that must be the subject of an evidentiary hearing.”

The Court disagrees with this argument.

       While the Defendant has argued that Mrs. Maricle did not give consent for a search

of the residence, and that the search of the residence continued following revocation of

consent, he has failed to present any evidence in support of this argument. Further, he has

failed to explain why he has not offered such proof for the Magistrate Judge’s consideration

in the form of an affidavit from Mrs. Maricle or from the Defendant. If Mrs. Maricle

contends that she did not give consent, she could easily say so in writing and under oath

through the submission of an affidavit. Likewise, if agents were observed conducting

anything more that a protective sweep of the residence prior to obtaining an amended

warrant, either the Defendant or Mrs. Maricle could provide an affidavit in support of their

attorney’s claim.2 Instead, however, counsel asserts that, without a hearing, it is impossible


       2
                 The United States asserts in response to the Defendant’s claims that entry into the
Maricle residence was proper because of the validly-issued arrest warrant for Maricle and a common
sense belief that he was inside. Payton v. United States, 445 U.S. 573, 603 (1980); United States
v. Pruitt, 458 F.3d 477, 482 (6th Cir. 2006), cert. denied, 127 S.Ct. 2910 (2007). The timing here
supports a belief that Maricle would likely be inside the residence. Common sense also dictates that,
if agents had arrived earlier and observed Maricle leave his actual residence, they would not have
gone to the neighbor’s home by mistake. Contrary to the Defendant’s assertions, the mere fact that
agents arrived at approximately 8:45 a.m., does not necessarily mean that Maricle would have
already left for work. This conclusion dispenses with Maricle’s fifth enumerated argument that the
officers acted improperly in going to Maricle’s home on the morning of March 16, 2009, to
effectuate his arrest.

              Further, there is no violation for agents to remain in the residence and detain
occupants until the amended search warrant was obtained. Illinois v. McArthur, 531 U.S. 326
(2001). The United States also correctly notes that there is no violation for agents to detain
occupants during the execution of a search or to conduct a limited search of the premises for their
safety. Michigan v. Summers, 452 U.S. 692 (1981); Maryland v. Buie, 494 U.S. 325, 335-37 (1990).

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for Maricle to provide such evidence. Again, the Court respectfully disagrees with this

assertion.

       In short, Defendant Maricle has failed to offer any proof to counter the Magistrate

Judge’s conclusion that, “there is no evidence that the search continued upon Maricle’s

revocation of consent, and prior to presentation of an amended warrant” or that “the search

was suspended and only resumed upon officers securing an amended search warrant . . .”

[Record No. 492, p. 3] Therefore, the Defendant’s objection to this conclusion will be

overruled.

              B.     Lack of Reliability or Corroboration

       Having reviewed the materials submitted in support of the search of the Defendant’s

residence, the Court agrees with the Magistrate Judge’s conclusion that the information

provided was reliable and that probable cause existed for a search of the residence. The

affidavit of Special Agent Briggs contains facts to support the confidential informants’

reliability. While the sources participated in twenty audio recordings of conversations with

subjects of the investigation, the informants’ actions were taken over an extended period of

time and under the supervision of law enforcement. Further, the Defendant’s assertions that

the recorded conversations were taken out of context for the purpose of securing a warrant

are not supported by the record.

       The affidavit of Special Agent Briggs submitted in support of issuance of the search

warrant for Defendant Maricle’s home is extensive. The affidavit recites the agents

background and experience regarding corruption investigations as well as the information

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he received from the confidential sources. While the confidential sources obtained numerous

recorded statements of Defendant Maricle and other Defendants, the affidavit indicates that

other information provided by these sources of information was independently corroborated

by other witnesses as well as by the affiant and other FBI investigators. The affidavit also

provides extensive detail connecting the Defendant’s recorded statements to the criminal

activity alleged. [Record No. 446; attached affidavit at pp. 7-15]

       Although the Defendant seeks to downplay the significance of the tape recorded

statements because, in his opinion, they do not contain “admissions” of criminal activity, that

is not the standard. Instead, looking at the totality of the circumstances,3 including the

confidential informants’ veracity, reliability and basis of knowledge as outlined in the

supporting affidavit, probable cause was clearly shown to support issuance of a search

warrant for the Defendant’s residence. United States v. May, 399 F.3d 817, 822 (6th Cir.

2005) (citing Illinois v. Gates, 462 U.S. 213,230 (1983)). Therefore, the Defendant’s

objection that Special Agent Briggs’ affidavit was insufficient to establish probable cause

will be overruled.




       3
                The Defendant also challenges the statistical information referenced in the supporting
affidavit regarding spikes in absentee ballots for the 2004 and 2006 elections. The Defendant argues
that such spikes were not limited to Clay County elections during this period but were seen
nationwide according to a Time magazine article. However, the government does not rely upon this
information in isolation but in combination with all other evidence of illegal activity by the
defendants.

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               C.      The Denial of an Evidentiary Hearing

       The Defendant objects to the Magistrate Judge’s recommendation that an evidentiary

hearing is unnecessary under Franks v. Delaware, 438 U.S. 154, 155-56 (1978). Under

Franks, a defendant may challenge the sufficiency of a previously-issued and executed

warrant by attacking the statements contained in the subject affidavit. However, to obtain

a hearing, the defendant must make a substantial preliminary showing that a false statement

was knowingly and intentionally included in the affidavit or that the subject statement was

made with a reckless disregard for the truth. The defendant must identify the disputed

portions of the challenged affidavit, and must support his or her charges of falsity or

recklessness with an offer of proof.

       Here, Defendant Maricle asserts that several of the recorded statements summarized

in Special Agent Briggs’ affidavit were mischaracterized. Specifically, he contends that the

statements were not placed in proper context and that the agent omitted material facts in

preparing the summaries. Again, however, the Court respectfully disagrees with the

Defendant’s assertions. Instead, the undersigned agrees with the Magistrate Judge that the

subject statements are neither misleading nor reckless. Therefore, no hearing is necessary.4




       4
               Even if the challenged statements were removed from the Briggs’ affidavit, probable
cause would still support issuance of the search warrant. Therefore, a hearing would not be required
in any event. United States v. Stewart, 306 F.3d 295, 304-05 (6th Cir. 2002).

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              D.     Nexus and Staleness

       Defendant Maricle also objects to the Magistrate Judge’s determination that a nexus

exists between the place to be searched and the alleged criminal activity. Further, he

challenges the determination that the information relied upon was not stale. According to

Maricle, the 2007 recorded conversations do not reflect that any meetings were held in his

home or that a list of registered voters was maintained there. [Record No. 508] Again,

however, probable cause for the issuance of the search warrant was not based exclusively

upon the recorded conversations.

       For example, the Briggs affidavit contains the following information regarding

meetings in furtherance of the election fraud scheme:

       Source #1 and #2 advised that they attended regular meetings at Maricle’s
       residence to discuss the election fraud scheme for the 2006 Clay County
       Primary and General Elections. The purpose of the meetings was to plan,
       organize, and carry out this scheme. . . . During these meetings Source #1
       provided Maricle with a list of all registered voters for the Manchester, East
       Manchester and Harts Branch precincts. Maricle also provided to Source #1
       and #2, a list of voters who were against his slate of candidates, that needed to
       be talked to and approached. Maricle, William Stivers, and Charles Wayne
       Jones, aka Wayne Jones were going over lists of election officers during these
       meetings, that Stivers brought to Maricle’s home.

[Record No. 446; attached affidavit, pp. 8-9]       Thus, a clear nexus existed between the

Maricle’s home and the alleged criminal activity. Based upon the information submitted in

support of the search warrant, there was probable cause to believe that evidence of criminal

activity would be located at the Maricle residence.




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       The undersigned also agrees that, based upon the nature of the illegal activity alleged,

the information supporting the search of Maricle’s home was not stale. While there is

sufficient evidence of ongoing activity to defeat the staleness claim, the type of records

sought defy claims of staleness. United States v. Greene, 250 F.3d 471, 481 (6th Cir. 2001)

(“Evidence of ongoing criminal activity will generally defeat a claim of staleness.”); United

States v. Abboud, 438 F.3d 554, 573 (6th Cir. 2006) (“business records are a type of evidence

that defy claims of staleness”). In light of the information contained in the Briggs affidavit,

the Magistrate Judge issuing the warrant for the search of Defendant Maricle’s home was

presented with probable cause of past, present and future criminal activity. Further, there

was good reason to believe that evidence of criminal activity in the form of voting list and

other related information would be located there. Accordingly, the Defendant’s objections

based on the lack of a nexus and staleness will be overruled.

       III.   Conclusion

       Having conducted a de novo review of the issues raised by Defendant Maricle in his

objections [Record No. 508] to the Magistrate Judge’s Report and Recommendation [Record

No. 492], it is hereby

       ORDERED as follows:

       1.     The Defendant’s motion to suppress and request for an evidentiary hearing

[Record No. 387] are DENIED.

       2      The Report and Recommendation of United States Magistrate Judge Edward

B. Atkins [Record No. 492] is ADOPTED and INCORPORATED herein by reference.

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     3.    Defendant Maricle’s objections to the Magistrate Judge’s Report and

Recommendation [Record No. 508] are OVERRULED.

     This 15th day of October, 2009.




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